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6
                                      UNITED STATES DISTRICT COURT
7                               FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                           AT SAN FRANCISCO
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     _________________________________________
9                                                  )
                                                   )
10    FOOD & WATER WATCH, et al.,                  )
                                                   )
11                                  Plaintiffs,    )   Civ. No. 17-CV-02162-EMC
                     vs.                           )
12                                                 )   PLAINTIFFS’ UNOPPOSED NUNC PRO
      U.S. ENVIRONMENTAL PROTECTION                )   TUNC MOTION TO AUTHORIZE THE
13    AGENCY, et al.                               )   VIDEO RECORDINGS OF TRIAL TO
                                                   )   BE PART OF THE CAMERA IN
14                                  Defendants.    )   COURTS PILOT PROJECT
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       PLAINTIFFS’ UNOPPOSED NUNC PRO TUNC MOTION TO AUTHORIZE THE VIDEO RECORDINGS OF TRIAL
                          TO BE PART OF THE CAMERA IN COURTS PILOT PROJECT
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1                                               INTRODUCTION

2           Pursuant to Local Rule 7-11, Plaintiffs file this Nunc Pro Tunc motion to authorize the video

3    recordings of the Phase 2 trial to become part of the Cameras in Court Pilot Project. Plaintiffs have

4    conferred with EPA which has confirmed it does not object to the video recording of the Phase 2 Trial

5    proceeding being part of the Cameras in Courts Pilot Project. Connett Decl. ¶ 1. EPA otherwise takes no

6    position on this motion. Id. ¶ 2.

7                                         FACTUAL BACKGROUND

8           Both parties in this case have consistently consented to requests to have the proceedings video

9    recorded and made part of the Cameras in Court Pilot Project. The Phase 2 Trial was no exception. As

10   stated in the parties’ Ninth Joint Status Report, “EPA would not object to the proceeding being broadcast

11   via videoconference (just as EPA has not objected to the ongoing request in this case for video recording

12   under the Cameras in the Courtroom Pilot Project).” ECF No. 366 at 3:15-17.

13          The option of making the Phase 2 Trial part of the Cameras in Court program was a subject of

14   discussion at the status conference on December 4, 2023. As noted in the minutes, “This Court participates

15   in the Pilot Project and can tape and upload proceedings to the AO website, with parties’ written consent.”

16   ECF No. 369 (emphasis added). On December 8, 2023, Plaintiffs’ counsel emailed the Court stating that

17   the parties had conferred and had no objections to the trial being video recorded. Exhibit 1. EPA’s counsel

18   was copied on the email. Id.

19          On December 11, 2023, the Clerk of Court filed a notice that a request to video record the trial was

20   made and that consent will be presumed unless a party objects within seven days. ECF No. 370. The parties

21   did not object. Thereupon, on December 19, 2023, the Clerk of Court filed notice that the Phase 2

22   Trial “will be video recorded as part of the Pilot Project.” ECF No. 375 (emphasis added).

23          On January 18, 2024, Kevin Blumberg from the CAND Cameras Program confirmed, in response

24   to a public inquiry, that video recordings would be made available of the trial. Exhibit 2. Mr. Blumberg

25   wrote, “This request was previously received and has already been approved for Recording. . . .

26   Videos will be made available as soon as possible, but the Court cannot provide exact dates or guarantee

27   quality.” Id. (emphasis added).
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28     PLAINTIFFS’ UNOPPOSED NUNC PRO TUNC MOTION TO AUTHORIZE THE VIDEO RECORDINGS OF TRIAL
                          TO BE PART OF THE CAMERA IN COURTS PILOT PROJECT
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1            On February 2, 2024, two days after trial had commenced, a notice was entered onto the docket

2    from the Clerk of Court stating that the proceeding “will not be video recorded.”1 ECF No. 394. Neither

3    counsel for Plaintiffs nor EPA had requested this change. Connett Decl. ¶ 3.

4            During closing arguments, Plaintiffs’ counsel sought clarity on whether the video recordings of the

5    trial would be made available on the Court’s website. ECF No. 427 at 1563:13-1564:23. The Court noted

6    that no order had been made to disallow the video recordings from being part of the Cameras in Courts

7    program. Id. at 1563:17-22. The Court invited Plaintiffs to confer with EPA and file a motion. Id. at 1564:2-

8    23.

9            Pursuant to the Court’s request, Plaintiffs have conferred with counsel for EPA. Connett Decl. ¶¶

10   1-2. EPA has confirmed that it stands by its previous position and does not object to a video recording of

11   the Phase 2 Trial proceeding being part of the Cameras in Courts Pilot Project. Id. ¶ 1. EPA also stated that

12   it will take no position on this motion. Id. ¶ 2.

13                                                   AUTHORITY

14           General Order No 65 authorizes participating courts in the Northern District of California “to record

15   proceedings and to post them on uscourts.gov” subject to the requirements of the Pilot Guidelines.2 Under

16   the Pilot Guidelines, the public posting of video recorded proceedings is “limited to civil proceedings in

17   which the parties have consented to recording.”3 The Guidelines encourage participating courts to consider

18   recording “different types of proceedings,” including both “trial and non-trial proceedings,” as well as

19   “proceedings with varying levels of expressed public interest.” Id. (emphases added).

20           Here, the Court’s discretion to authorize the posting of the video recorded trial would harmonize

21   with the considerations set forth in the Pilot Guidelines. First, this Court is a participating member of the

22   Pilot Project. ECF No. 369. Second, the parties have consented to the recording. ECF No. 375. Third, the

23   Court has recognized that the subject of the trial (i.e., whether fluoride chemicals in drinking water pose a

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        While the notice is dated January 31, 2024, it was not entered into the docket until February 2, 2024.
25   See Docket Entry for ECF No. 394 (stating that notice was “Entered: 02/02/2024”).
     2
        See General Order No. 65, available at https://cand.uscourts.gov/wp-content/uploads/general-
26   orders/GO_65_7-19-2016.pdf
     3
        See Cameras Pilot Guidelines, available at https://cand.uscourts.gov/about/court-
27   programs/cameras/guidelines/
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28       PLAINTIFFS’ UNOPPOSED NUNC PRO TUNC MOTION TO AUTHORIZE THE VIDEO RECORDINGS OF TRIAL
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1    risk of harm to the public) is of substantial public interest. See https://www.cand.uscourts.gov/food-and-

2    water-watch-v-us-epa/ (“Due to the level of interest in this case, this web page has been created to notify

3    attorneys, journalists and interested members of the public of important news and information about access

4    to proceedings and to case information.”).

5                                                 CONCLUSION

6           For the reasons set forth above, and pursuant to the Clerk of Court’s notice from December 19,

7    2023 (ECF No. 375), Plaintiffs respectfully request that the Court authorize the Cameras in Courts Pilot

8    Project to post video recordings of the Phase 2 Trial on the uscourts.gov website.

9           March 15, 2024                                Respectfully submitted,
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                                                          /s/ Michael Connett     .
11                                                        MICHAEL CONNETT
                                                          Attorney for Plaintiffs
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28     PLAINTIFFS’ UNOPPOSED NUNC PRO TUNC MOTION TO AUTHORIZE THE VIDEO RECORDINGS OF TRIAL
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1                                           CERTIFICATE OF SERVICE

2           I hereby certify that a true and correct copy of the foregoing was served by Notice of Electronic

3    Filing this 15th day of March, 2024, upon all ECF registered counsel of record using the Court’s CM/ECF
     system.
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                                                               /s/ Michael Connett .
6                                                              MICHAEL CONNETT
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